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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

TODD        COYER,        KARL        KISNER,
LAURYN OVERBEY, LISA SOLOMON, and
SONNY        PIKE,    Individually    and     as
representatives of a class of similarly situated
persons, on behalf of the UNIVAR
SOLUTIONS 401(K) PLAN f/k/a the UNIVAR
USA INC. VALUED INVESTMENT PLAN,
                                                   Case No.: 1:22-cv-00362
       Plaintiffs,                                 The Honorable Robert W. Gettleman
v.

UNIVAR SOLUTIONS USA INC., THE
BOARD OF DIRECTORS OF UNIVAR
SOUTIONS USA INC., THE RETIREMENT
PLAN    COMMITTEE          OF    UNIVAR
SOLUTIONS USA INC.; and DOES No. 1-20,
Whose Names are Currently Unknown,

       Defendants.




              DEFENDANTS’ MOTION TO DISMISS THE COMPLAINT
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       Defendants Univar Solutions USA Inc., its Board of Directors, and its Retirement Plan

Committee (together, “Univar”) respectfully request that this Court, pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure, dismiss plaintiffs’ complaint for failure to state a claim upon

which relief may be granted. Plaintiffs purport to bring claims under the Employee Retirement

Income Security Act of 1974 for breaches of fiduciary duty, failure to monitor, and alternatively,

a knowing breach of trust, but premise those claims on conclusory allegations that do not push

their claims from conceivable to plausible. Plaintiffs’ claims also should be dismissed for lack of

standing to the extent they relate to funds in which plaintiffs did not invest and to the extent

plaintiffs seek prospective injunctive relief. For the foregoing reasons and as discussed further in

defendants’ memorandum of law, Univar respectfully requests that the Court enter an order

dismissing plaintiffs’ complaint.



Dated: April 4, 2022                                  Respectfully Submitted,

                                                      /s/ Craig C. Martin

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                                                      Attorneys for Univar Solutions USA Inc., the
                                                      Board of Directors of Univar Solutions USA
                                                      Inc., and the Retirement Plan Committee of
                                                      Univar Solutions USA Inc.




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                                 CERTIFICATE OF SERVICE

       Pursuant to Rule 5 of the Federal Rules of Civil Procedure and Rule 5.5 of the Local Rules

of the Northern District of Illinois, the undersigned, an attorney of record in this case, hereby

certifies that, on April 4, 2022, a true and correct copy of the foregoing was filed electronically by

CM/ECF, which caused notice to be sent to all counsel of record.



Dated: April 4, 2022                                  /s/ Craig C. Martin
                                                      Craig C. Martin
                                                      Willkie Farr & Gallagher LLP
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                                                      Attorney for Univar Solutions USA Inc., the
                                                      Board of Directors of Univar Solutions USA
                                                      Inc., and the Retirement Plan Committee of
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